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19
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20
   UNITED STATES OF A1V~RICA ex rel             No. CV 13-5861 GHK(AJWx)
21 [UNDER SEAL],
                                               MEMORANDUM OF POINTS AND
22              Plaintiffjs],                  AUTHORITIES IN SUPPORT OF EX
                                               PARTE APPLICATION FOR[UNDER
23                     v.                      SEAL]

24 [UNDER SEAL],                               [FILED UNDER SEAL PURSUANT TO
                                               FALSE CLAIMS ACT,31 U.S.C.§
25              Defendant[s].                  3730(b)(2)]

26                                             [FILED OR LODGED
                                               CONCURRENTLY HEREWITH:EX
27                                             PARTE APPLICATION;[PROPOSED]
                                               O RDER]
28
     Case 2:13-cv-05861-JLS-AJW Document 39 Filed 10/14/16 Page 2 of 7 Page ID #:602

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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                    WESTERN DIVISION
20
   UNITED STATES OF AMERICA; the                  No. CV 13-5861 GHK(AJWx)
21 STATES of CALIFORNIA,
   DELAWARE,FLORIDA, GEORGIA,                     MEMORANDUM OF POINTS AND
22 HAWAII,ILLINOIS,INDIANA,                       AUTHORITIES IN SUPPORT OF EX
   LOUISIANA, MICHIGAN,                           PARTE APPLICATION FOR ORDER
23 MINNESOTA, MONTANA,NEVADA,                     PARTIALLY LIFTING SEAL
   NEW HAMPSHIRE,NEW JERSEY,
24 NEW MEXICO,NEW YORK,NORTH                      rFILED UNDER SEAL PURSUANT
   CAROLINA,OKLAHOMA,RHODE                        TO FALSE CLAIMS ACT,31 U.S.C.§
25 ISLAND,TENNESSEE,TEXAS,and                     3730(b)(2)]
   WASHINGTON; COMONWEALTHS of
26 MASSACHUSETTS and VIRGINIA, and                FILED OR LODGED HEREWITH: EX
   the DISTRICT OF COLUMBIA ex rel.               ARTE APPLICATION;[PROPOSED
27 MARIA GUZMAN,                                   RDER]
28
                                              2
      Case 2:13-cv-05861-JLS-AJW Document 39 Filed 10/14/16 Page 3 of 7 Page ID #:603




  1                 Plaintiff,
 2                         v.
 3     INSYS THERAPEUTICS,INC.;
       MICHAEL BABICH, an individual•
 4     ALEC BURLAKOFF,an individual; and
       DOES 1 through 15,
 5
                    Defendants.
 6
 7                       MEMORANDUM OF POINTS AND AUTHORITIES
 8 ~ I.      INTRODUCTION
 9           Pursuant to the False Claims Act("FCA"), 31 U.S.C. § 3730(b)(2), the United
10     States of America("United States") applies ex arte for an order partially lifting the seal
11     in the above-captioned action ("this action"). This memorandum is submitted in support
12     of the United States' application for an order allowing Assistant United States Attorneys
13     in the Office of the United States Attorney for the District of Massachusetts who are
14     conducting a criminal investigation related to this qui tam action to disclose, at their
15     discretion, the existence of this ui tam action, the identity of the relator, the contents of
16     any complaints or written disclosure statements filed or submitted in this action, the
17     relator's potential financial interest in this action, and any other issues deemed necessary
18     to disclose to members of any federal grand jury empaneled in the District of
19     Massachusetts investigating possible criminal conduct related to this ui tam action.
20     II.   DISCUSSION
21           This action is brought under the ~c ui tam provisions of the FCA. The ui tam
22     plaintiff("the Relator") is Maria Guzman. The defendants are INSYS Therapeutics, Inc.
23 ("INSYS"), apublicly-traded national pharmaceutical company and its former
24     executives Michael Babich and Alex Burlakoff. INSYS is alleged to be a specialty
25     pharmaceutical company headquartered in Chandler, Arizona. INSYS allegedly markets
26     Subsys, a powerful fentanyl sublingual spray approved by the Food and Drug
27     Administration("FDA")to treat breakthrough cancer pain in opioid tolerant patients.
28    INSYS allegedly also markets Dronabinol SG Capsule and is awaiting FDA approval for
                                                    3
     Case 2:13-cv-05861-JLS-AJW Document 39 Filed 10/14/16 Page 4 of 7 Page ID #:604




 1 II Dronabinol Oral Solution. Babich was INSYS's Chief Executive Officer and Burlakoff
 2 II was its Vice-President of Sales.
 3           The Relator alleges that the defendants instituted akickback-fueled off-label
 4     marketing campaign to induce doctors to prescribe SUBSYS far beyond its stated
 5    indication and its beginning dosage of 100 micrograms. The Relator alleges that the
 6    defendants improperly encouraged doctors to quickly titrate patients to higher than
 7    appropriate Subsys dosage levels. The Relator also alleges that the defendants used a
 8    mail order pharmacy to send Subsys to patients who had not requested the drug and that
 9    the pharmacy did not properly instruct patients on the proper storage of Subsys.
10           The FCA provides for the award of treble damages and civil penalties for, inter
11    alia, the presentation of a false claim (or the making of a false statement in support
12    thereof in order to obtain a payment from the United States Government. 31 U.S.C. §
13    3729(a)(1) and (2). Section 3730(b) of the FCA permits a private person, known as the
14 "relator," to bring a ui tam action for him or herself"and for the United States
15    Government." 31 U.S.C. § 3730(b)(1). With certain exceptions, such relators are
16    entitled to a share of the proceeds of a judgment or settlement of their ~ui tam actions.
17    31 U.S.C. § 3730(d).
18           The United States Attorney's Office for the District of Massachusetts is currently
19    conducting a criminal investigation involving allegations related to this ~ui tam action.
20    As part of that criminal investigation, a federal grand jury has been empaneled in that
21    district. Assistant United States Attorneys working on the criminal investigation may
22    need to disclose to members of the federal grand jury the existence of this gui tam action,
23    the identity of the relator, the contents of any complaints or written disclosure statements
24   filed or submitted in this action, the relator's potential financial interest in this action,
25    and other issues that may be necessary to disclose to the grand jurors. Although this
26    Court has partially lifted the seal in this case previously to allow disclosure to other
27    relators and to the defendants, the seal has not yet been lifted for the purpose of allowing
28    disclosure to grand jurors in the District of Massachusetts. This disclosure is necessary
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      to allow the grand jury to adequately investigate allegations of criminal conduct that are
 2    related to this qui tam action. Accordingly, the United States respectfully requests that
 3    the seal be lifted in part for this purpose.
 4    III.   CONCLUSION
 5           For the foregoing reasons, the United States respectfully requests that the seal on
 6    this ui tam action be lifted so that Assistant United States Attorneys in the Office of the
 7    United States Attorney for the District of Massachusetts who are conducting a criminal
 8    investigation related to this u~ i tam action may, at their discretion, disclose the existence
 9    of this ~ui tam action, the identity of the relator, the contents of any complaints or
10    written disclosure statements filed or submitted in this action, the relator's potential
11    financial interest in this action, and any other issues deemed necessary to disclose to
12    members of any federal grand jury empaneled in the District of Massachusetts
13    investigating possible criminal conduct related to this qui tam action.
14     Dated: October ~'~ 2016             Respectfully submitted,
15                                         BENJAMIN C. MIZER
                                           Principal Deputy Assistant Attorney General
16                                         EILEEN M. DECKER
                                           United States Attorne
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     Case 2:13-cv-05861-JLS-AJW Document 39 Filed 10/14/16 Page 6 of 7 Page ID #:606




 1          DECLARATION RE LACK OF NECESSITY FOR PROOF OF SERVICE
 2          I, John E. Lee, declare:
 3          1.    I am the Assistant United States Attorney who has been assigned
 4    responsibility for handling the above-captioned action. I am a member of the Bar of the
 5    State of California, and I have been duly admitted to appear before this Court. The
 6 1 ~ following is based on my personal knowledge.
 7          2.     I have examined Federal Rule of Civil Procedure ("Rule") 5(a), which
 8 ~ provides as follows:
 9         (a) Service: When Required.
10               (1)In General. Unless these rules provide otherwise, each of the following
11                papers must be served on every party:
12                     (A)an order stating that service is required;
13                     (B)a pleading filed after the original complaint, unless the court
14                       orders otherwise under Rule 5(c) because there are numerous
15                       defendants;
16                      (C)a discovery paper required to be served on a party, unless the
17                      court orders otherwise;
18                     (D)a written motion, except one that may be heard ex parte; and
19                     (E)a written notice, appearance, demand, or offer ofjudgment, or
20                      any similar paper.
21               (2)If a Party Fails to Appear. No service is required on a party who is in
22                default for failing to appear. But a pleading that asserts a new claim for
23                relief against such a party must be served on that party under Rule 4.
24               (3) Seizing Property. If an action is begun by seizing property and no
25                person is or need be named as a defendant, any service required before the
26                filing of an appearance, answer, or claim must be made on the person who
27                had custody or possession of the property when it was seized.
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                                                  D
     Case 2:13-cv-05861-JLS-AJW Document 39 Filed 10/14/16 Page 7 of 7 Page ID #:607




 1          3.     The list of documents set forth in Rule 5(a)(1) does not include the
 2    documents to which this Declaration is attached. The said documents also are not a
 3    pleading that asserts "a new claim for relief' against any "party who is in default for
 4    failing to appear." (Rule 5(a)(2).) Nor was the above-captioned action "begun by
 5    seizing property." (Rule 5(a)(3).) Therefore, I believe that Rule 5(a) does not require
 6    the documents to which this Declaration is attached to be served upon any party that has
 7    appeared in the above-captioned action.
 8          I declare under penalty of perjury that the foregoing is true and correct.
 9          Executed on October ~,2016, at Los Angeles, California.
10
11
                                                    JOHN E. LEE
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